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AO91 (Rev. 11/11) Criminal Complaint

                                United States District Court
                                                                      for the
                                                        Southern District of Texas


         UNITED STATES OF AMERICA                                     )
                    V.                                                )
            Juan Jose DE LUNA-Magana                                  )         Case Number:
                       Mexico                                         )
                                                                      )

                                                     CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 On or about the date(s) of             February 8, 2021           in the county of                Webb         in the
                                                          (Date)
              Southern                 District of Texas, the defendant(s) violated:

               Code Section                                                      Offense Description
   Title 8 United States Code, Section            acitizenofMexico,whowaspreviouslyremovedwasthereafterfoundintheUnited
   1326                                           States LQ /aredo, Texas. The said defendant has not obtained the consent of the
                                                  AttorneyGeneraloftheUnitedStatesorSecretaryoftheDepartmentofHomeland
                                                  Security(March1,2003andthereafter-Title6Code,Sections202and557)forthe
                                                  reapplicationbythesaiddefendantforadmissionintotheUnitedStates.




    This criminal complaint is based on these facts:
    See attachment "A".




        X         Continued on the attached sheet.

                                                                            V5XEHQ&RUWLQDV-U
                                                                          Complainant's Signature


                                                                          Ruben Cortinas Jr./Deportation Officer
                                                                          Printed Name and Title


    Sworn to before me and signed in my presence,

Date:        February 11, 2021
                                                                                                    Judge's Signature

City and State:      Laredo, Texas                                        Christopher dos Santos, US Magistrate Judge
                                                                                              Printed Name and Title
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 Juan Jose DE LUNA-Magana

[CONT OF BASIS OF COMPLAINT]


On February 8, 2021, Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
(ERO) encountered Juan Jose DE LUNA-Magana at the Webb County Jail in Laredo, Texas pursuant to an arrest
by the Laredo Police Department for aggravated assault with a deadly weapon. ICE/ERO established that DE
LUNA-Magana was a citizen of Mexico and previously removed from the United States. A Notice of Action-
Immigration Detainer Form I-247 was lodged against DE LUNA-Magana.

On February 10, 2021, the Webb County Jail released DE LUNA-Magana to ICE/ERO. ICE/ERO issued DE LUNA-
Magana, a Notice of Intent/ Decision to Reinstate Prior Order of Removal, Form I-871, pursuant to Section 241
(a)(5) of the INA.

DE LUNA-Magana was last removed from the United States on December 8, 2020 via the Port of Entry in
Laredo, Texas. There is no record of DE LUNA-Magana applying for or receiving permission from the Attorney
General or Secretary of the Department of Homeland Security to re-renter the United States after
deportation.

                                                                                                       [END]
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[CONT OF BASIS OF COMPLAINT]
